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GENERAL                                             COUNSEL''^
                            ATTORNEYS               AT   LAW


                 6849 Old Dominion Drive, Suite 220, McLean, Virginia 22101
                             (Main) 703-556-0411 (Fax) 888-222-6807
                                 www.gener.\lcounsell\w.com                       ^
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                                                                            EMAllikjNG@GCrc.COM
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                                       July 20, 2015                                  r' O     -0
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    SENT VIA COURIER                                                                                O
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    CIVIL CLERK'S OFFICE
    ALBERT V. BRYAN U.S. COURTHOUSE
    401 COURTHOUSE SQUARE
    ALEXANDRIA, VA 22315

                              Re: Veronica Kariuki v. ETeam, Inc.

    To Whom It May Concern:

    Enclosed are the following for filing in the above-mentioned matter:

    1. Civil Cover Sheet JS044
    2. Summons in a Civil Action (Original + 1 copy)
    3. Complaint (Original + 1 copy)
    4. $400.00 filing fee

    Please issue summons and return it in the enclosed return envelope. Please prepare a service
    package for the Defendant and return in the postage-paid envelope provided and we will serve
    the Defendant through a personal process server.

    Please let me know if you have any questions.

                                                Sincerely,




                                                Connie Ng

    Enclosures
